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UNITED STATES DISTRICT COURT | DOCH |
SOUTHERN DISTRICT OF NEW YORK DATE Fi Be _ | 3 TH Ty

 

 

 

 

 

UNITED STATES OF AMERICA

-v- No. 15CR00468-06(VB)
ORDER
Derek Moorer,

Defendant.

 

 

Vincent L. Briccetti, U.S. District Judge:

It is ordered that Mr. Moorer is mandated to enter residential inpatient substance abuse treatment
to address his continued substance abuse issues. He has a long history of alcohol abuse and has
acknowledged that he is presently unable to maintain sobriety on his own. Due to his current
legal status and the dangerous consequences associated with the excessive use of alcohol, it is
hereby ordered that he reside, participate and complete the residential substance abuse treatment
program at Seafield Services located in Westhampton, New York for 60-days.

It is also ordered that on October 23, 2020, the United States Marshals Service shall release
Defendant from the cell block on the fourth floor of the Daniel Patrick Moynihan United States
Courthouse to the United States Probation Officer, who will turn him over to a representative of
Seafield Services for transport to a residential drug treatment facility.

SO ORDERED.

Dated: October 20, 2020
_ New York, New York

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Vincent L. Briccetti
U.S. District Judge
